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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                               )
ANSLY DAMUS, et al., on behalf of              )
themselves and others similarly situated,      )
                                               )
               Plaintiffs,                     )
                                               )     Civil Action No. 1:18-cv-00578 (JEB)
               v.                              )
                                               )
KIRSTJEN NIELSEN, Secretary of the             )
Department of Homeland Security, in her        )
official capacity, et al.,                     )
                                               )
               Defendants.                     )
                                               )


PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
         AND OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS



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                                       INTRODUCTION

       Defendants acknowledge that the Parole Directive, the Immigration and Nationality Act

(“INA”), and INA regulations preclude a blanket policy of denying parole to asylum seekers and

instead require U.S. Immigration and Customs Enforcement (“ICE”) to make case-by-case

parole decisions based on individualized factors like flight risk and danger to the community.

Despite Defendants’ protestations, the hard statistical evidence establishes that no bona fide

individualized parole reviews are being conducted at ICE’s Detroit, El Paso, Los Angeles,

Newark, and Philadelphia Field Offices (the “ICE Field Offices”). Those offices rather have

implemented a de facto policy of parole denial.

       Most starkly, during the eight months from February to September 2017, ICE’s El Paso

Field Office denied 349 out of 349 parole applications, ICE’s Philadelphia Field Office denied

43 out of 43 parole applications, and ICE’s Newark Field Office denied 10 out of 10 parole

applications. The other two Field Offices granted parole in just a tiny fraction of cases. This

overwhelming statistical evidence, which Defendants make no effort to refute or explain,

establishes that parole is being denied in almost every case. The statistical evidence further

shows that ICE’s current practice constitutes a marked departure from just a few years ago, when

more than 90% of asylum seekers were granted parole, even though there has been no significant

change in the types of asylum seekers traveling to the United States. In short, the evidence

demonstrates that similarly situated individuals who routinely were granted parole in prior years

are being denied parole under the current regime—belying Defendants’ assertion that nothing

has changed and that ICE is following the Parole Directive, just as it always did.

       Defendants’ declarations are conclusory hearsay that rely on records purportedly

“reviewed” by the declarants that have been withheld both from Plaintiffs and from the Court,



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despite Plaintiffs’ repeated requests. Moreover, Defendants have refused to make their

declarants available for short depositions, making it impossible for Plaintiffs to test the

declarants’ bald assertions.

       Even if considered, Defendants’ declarations do not undermine Plaintiffs’ claims.

Indeed, the declarations confirm that the ICE Field Offices are no longer conducting

individualized parole reviews; instead the Field Offices are denying parole on blanket grounds

applicable to all or almost all asylum seekers. For example, one of Defendants’ declarants states

that Plaintiff H.A.Y.’s parole request was denied merely because H.A.Y. was a “recent entrant”

into the United States. But asylum seekers detained at the U.S. border are, by definition, “recent

entrants.” Being a “recent entrant” is not an individualized characteristic. Defendants’

declarants also say that certain Plaintiffs were denied parole because they lack “substantial ties”

to the United States—another characteristic of virtually all arriving asylum seekers. And one of

Defendants’ declarants says that a named Plaintiff was denied parole because he did not provide

sufficient evidence of his relationship with his sponsor in the United States—even when that

sponsor was his mother, who submitted a sworn affidavit attesting that the Plaintiff is her son.

Denying parole on such spurious grounds underscores that ICE is not conducting meaningful

individualized parole reviews.

       While Defendants dispute that ICE’s current practice of denying parole in virtually all

cases at the five Field Offices is motivated by deterrence, the current Administration has

repeatedly emphasized its deterrence goals. There can be no other plausible explanation for

ICE’s dramatic shift from granting parole in more than 90% of cases to denying parole in nearly

every case. Moreover, regardless of ICE’s motive, its demonstrable failure to provide

individualized parole reviews violates the Parole Directive, the INA, and the Due Process




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Clause, and should be enjoined. Plaintiffs are thus likely to succeed on the merits of their claims.

Defendants do not seriously dispute that the other requirements for entry of a preliminary

injunction are satisfied.

        Contrary to Defendants’ assertion, the Court has jurisdiction to enjoin ICE’s arbitrary

detentions. The statute on which Defendants rely—8 U.S.C. § 1252(f)(1)—provides only that a

district court lacks jurisdiction to enjoin the operation of specific enumerated sections of the

INA. The parole statute at issue here (8 U.S.C. § 1182(d)(5)) is not among them. Moreover,

Plaintiffs do not seek to “enjoin the operation” of the parole statute. Rather, they seek to compel

Defendants to comply with that statute, and with the regulations and Parole Directive issued

pursuant to it, by providing bona fide case-by-case parole reviews.

        Accordingly, Plaintiffs’ motion for preliminary injunction should be granted and

Defendants’ motion to dismiss should be denied.

                                           ARGUMENT

I.      The Statistical and Other Evidence Establishes That ICE Has a De Facto Policy of
        Denying Parole in Virtually All Cases at the Five Field Offices, in Violation of the
        Parole Directive and the INA.

        A.      ICE Is Not Conducting Individualized Parole Reviews.

        Defendants’ assertion that ICE conducts individualized parole reviews and does not have

a de facto policy of denying parole in almost every case defies reality. The statistics referenced

above and in Plaintiffs’ opening brief are not disputed and speak for themselves. See generally

Pl. Op. Br. 8, 20 (ECF No. 17-1); Pl. Ex. 8, Daher Decl. (ECF No. 17-10). Defendants do not

suggest that asylum seekers detained in 2017 suddenly became more apt to flee or more apt to

commit crimes than those detained earlier, and they make no other effort to explain the numbers.

Statistical evidence that parole grant rates dropped from more than 90% in 2011-13 to zero or

near zero in the same ICE Field Offices in 2017, is alone sufficient to establish that the Field


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Offices are not conducting the case-by-case parole reviews based on flight risk and danger to the

community that the Parole Directive, the INA, and the INA regulations demand. See, e.g.,

McLouth Steel Prod. Corp. v. Thomas, 838 F.2d 1317, 1321 (D.C. Cir. 1988) (evidence that

agency departed from general rule only four times out of 100 cases was sufficient to show

general policy and absence of bona fide individualized review); Huynh v. Harasz, 2016 WL

2757219, at *18-19 (N.D. Cal. May 12, 2016) (denial of 215 out of 215 applications was

evidence that agency had de facto denial policy and did not conduct bona fide individualized

application reviews); Bellarno Int’l Ltd. v. Food & Drug Admin., 678 F. Supp. 410, 415

(E.D.N.Y. 1988) (“two . . . instances of deviation” out of 386 decisions “can hardly form the

basis for a finding of agency discretion”).

       Defendants’ contention that Plaintiffs’ statistics were “cherry-picked” from just five ICE

Field Offices ignores that it is those five Field Offices, and only those five, whose practices are

at issue in this case. Moreover, the statistics include every parole request recorded by ICE at the

five Field Offices during the first eight months of the Trump Administration (i.e., February

through September 2017). See Pl. Ex. 8, Daher Decl. ¶¶ 5-11 (ECF No. 17-10). They constitute

a robust set of more than 800 cases and include all of the data available for the Trump era at the

time this case was filed. See id. Defendants do not contend that anything has materially changed

since September 2017.

       And Plaintiffs do not rely on statistics alone. Those statistics corroborate, and are

corroborated by, the testimonial evidence. That includes the declaration of Joan Del Valle, an

immigration lawyer who reports being told by multiple ICE officials that “there is no more

parole,” Pl. Ex. 10, Del Valle Decl. ¶ 8 (ECF No. 17-12), and the declaration of Jessica Miles, an

immigration lawyer who reports being told by an immigration officer that ICE is “not granting




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parole.” Pl. Ex. 4, Miles Decl. ¶ 6 (ECF No. 17-6); see also Pl. Ex. 10, Del Valle Decl. ¶ 8 (ECF

No. 17-12) (Del Valle told by ICE officer that she “should not even bother to submit a parole

request because ICE had to deny all parole requests”).1 It also includes undisputed testimony

that similarly situated individuals who were granted parole in prior years are now being denied

parole. See Pl. Op. Br. 8 (citing 9 declarations to such effect from legal services practitioners);

accord Pl. Ex. 23, Behr Decl. ¶¶ 11-12; Pl. Ex. 24, Suppl. Bellis Decl. ¶¶ 3-4; Pl. Ex. 25, Suppl.

Stambaugh Decl. ¶ 11. Indeed, immigration attorney Elizabeth Ford attests that her roughly two

dozen arriving asylum seeker clients in 2017 “presented much stronger cases for release on

parole than [her] previous clients” who were granted parole, but that ICE nonetheless denied the

parole requests of each and every one of them. Pl. Ex. 3, Ford Decl. ¶¶ 5-8 (ECF No. 17-5)

(emphasis added); see also Pl. Ex. 26, Suppl. Spector Decl. ¶ 17 (“Prior to 2017, my parole

applicant clients who had similar, or even significantly weaker, sponsor relationships were

routinely granted parole.” (emphasis added)).

       B.      Defendants’ Declarations Should Be Accorded Little If Any Weight.

       Defendants’ reliance on their declarations to deny the existence of a de facto policy and

to assert that ICE is conducting individualized parole reviews is baseless. As an initial matter,

the declarations should be given little if any weight. Four of the five declarants do not even

purport to have been involved in making parole decisions for Plaintiffs, and base their testimony

instead on a “review” of what ICE “records” supposedly show. See Def. Ex. F, Ritchey Decl.

¶¶ 7-8 (ECF No. 23-6) (“My review of the Parole Decision Worksheet completed in [Castro’s

and Callol’s] case[s] indicates . . . .”); Def. Ex. G, Perez Decl. ¶ 9 (ECF No. 23-7) (“I have



1
 The statements by the ICE officials are non-hearsay admissions of a party opponent. See Fed.
R. Evid. 801(d)(2).


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reviewed the parole review records of N.J.J.R.” and “[m]y review of those records shows . . .”);

Def. Ex. D, Witte Decl. ¶ 6 (ECF No. 23-4) (“I have access to and have reviewed the records

relating to parole requests submitted by aliens L.H.A. . . . A.M.M. . . . and H.A.Y.”); Def. Ex. E,

Adducci Decl. ¶ 8 (ECF No. 23-5) (“I . . . have reviewed the parole review records relating to

[Damus]. My review of the records shows . . .”). That is, of course, rank hearsay.

       Additionally, Defendants’ declarants do not attach the “records” on which their hearsay

testimony is purportedly based. In particular, each Defendant declaration refers to “Parole

Determination Worksheets,” which purportedly reflect how Plaintiffs’ parole requests were

evaluated. See, e.g., Def. Ex. F, Ritchey Decl. ¶¶ 4, 7-8 (ECF No. 23-6) (“My review of the

Parole Decision Worksheet completed in [Castro’s and Callol’s] case[s] indicates . . . .”); see

also Def. Ex. C, Quinones Decl. ¶¶ 3, 10, 16 (ECF No. 23-3); Def. Ex. D, Witte Decl. ¶ 4 (ECF

No. 23-4); Def. Ex. E, Adducci Decl. ¶¶ 6, 13 (ECF No. 23-5); Def. Ex. G, Perez Decl. ¶¶ 6, 20

(ECF No. 23-7). Yet none of those Parole Determination Worksheets is actually attached to the

declarations. Indeed, not only have the declarants failed to attach the Worksheets; they also

refused to provide them (and other records purportedly reviewed) to Plaintiffs, despite repeated

requests. See Pl. Ex. 27, Levitz Decl. ¶ 3 & Ex. 1. Defendants likewise refused to produce their

declarants for brief depositions so that Plaintiffs could test their bald, hearsay assertions. See id.

       The Court should, at a minimum, substantially discount the declarations in these

circumstances. Ramirez v. ICE, 2018 WL 1882861 (D.D.C. Apr. 18, 2018), a recent case

preliminarily enjoining another ICE policy, is on point. The Ramirez court did not credit

declarations from ICE officials purporting to show individualized review of the plaintiffs’ cases,

where those officials were “not . . . decisionmaker[s] who played any role in the determination,”

and instead explained the decisions based on “a purported review” of documents that were not




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provided to the Court. Id. at *14-16 & n.7. The same result should obtain here. See also Sea

Shepherd Conservation Soc’y v. Internal Revenue Serv., 89 F. Supp. 3d 81, 90-91 (D.D.C. 2015)

(rejecting government declarants’ “[c]onclusory assertions” that they had complied with the

law); Imagenetix, Inc. v. GNC Holdings, Inc., 2013 WL 12100701, at *3 (S.D. Cal. Mar. 29,

2013) (discounting preliminary injunction declarations that “do not attach or cite to any evidence

supporting [their] conclusory statements”); Sun-Mate Corp. v. Koolatron Corp., 2010 WL

11552980, at *7 (C.D. Cal. Nov. 16, 2010) (discounting “conclusory self-serving” preliminary

injunction declarations and noting that failure to provide supporting evidence to which the party

would have “easy access” “suggests to the Court that [supporting] evidence does not exist”).2

       C.      Defendants’ Declarations Merely Confirm That ICE Is Not Conducting Bona Fide
               Case-by-Case Parole Reviews.

       Even if considered, Defendants’ declarations do not support Defendants’ assertion that

ICE is conducting individualized parole reviews. In fact, they show just the opposite. For

instance, the El Paso Field Office’s only justification for denying Plaintiff H.A.Y.’s parole

request was that “H.A.Y. was a recent entrant and thus presented a flight risk.” Def. Ex. D,

Witte Decl. ¶ 23 (ECF No. 23-4). But every arriving asylum seeker is, by definition, a “recent




2
  While the Los Angeles Field Office declarant at least appears to have been involved in the
parole reviews in question, his declaration still fails to attach the Parole Determination
Worksheets purportedly documenting ICE’s parole reviews, and Defendants refused to provide
those Worksheets or to make the declarant available for deposition, notwithstanding Plaintiffs’
requests. Levitz Decl. ¶ 3 & Ex. 1. Accordingly, like the other Defendant declarations, the Los
Angeles Field Office declaration should be afforded little if any weight. That is especially so
because the declarant’s assertions are directly contradicted by Plaintiffs’ witnesses. For
example, attorney Madelaine Behr directly contradicts the Los Angeles office’s assertion that
she submitted affidavits of support for named Plaintiff E.E.C.S. that concerned other individuals.
In fact, Ms. Behr did no such thing. See Def. Ex. C, Quinones Decl. ¶ 15 (ECF No. 23-3); Pl.
Ex. 23, Behr Decl. ¶ 10. And, unlike Defendants, Ms. Behr backs that testimony by reference to
documentary evidence submitted to the Court. See Pl. Ex. 23, Behr Decl. ¶ 10 (citing Pl. Ex. 17,
E.E.C.S. Decl., Ex. B (ECF No. 17-19)).


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entrant.” Denying parole on that basis demonstrates the absence of any genuine individualized

review.

          Defendants’ declarations further state that asylum seekers have been denied parole based

on lack of “substantial ties” to the United States. See id. ¶ 19 (“A.M.M. presented a flight risk

because he had not established sufficient ties to the United States.”); Def. Ex. E, Adducci Decl. ¶

13 (ECF No. 23-5) (same for Damus); Def. Ex. F, Ritchey Decl. ¶ 7 (ECF No. 23-6) (same for

Montes Castro); id. ¶ 8 (same for Asensio Callol). But lack of “substantial ties” to the United

States, too, is characteristic of virtually every asylum seeker who has been detained at the border

and imprisoned. Refusing parole on that ground again demonstrates that ICE is not conducting

bona fide case-by-case parole reviews.

          Notably, none of Defendants’ declarations attempts to explain the overwhelming

statistical evidence regarding the dramatic reversal in parole practice at the five Field Offices or

to address the extensive testimony presented by Plaintiffs that similarly situated individuals who

were granted parole in prior years are now having their parole applications denied. See supra

Part I.A. This unrebutted evidence further shows that the Field Offices are not conducting true

case-by-case parole reviews but are instead denying parole on pretextual grounds.3

          That flight risk is being used as a pretext is clear in the case of Plaintiff Ansly Damus, an

ethics teacher who was persecuted in Haiti and sought asylum. ICE purportedly denied Mr.



3
  While Defendants refer to “exceptional overriding factors” like “serious adverse foreign policy
consequences” that could result from an asylum seeker’s release as a potential basis for denying
parole, PI Opp. 5, none of their declarants suggest that such “exceptional overriding factors”
exist here. Absent such exceptional circumstances, arriving asylum seekers who establish their
identities and show that they are neither flight risks nor dangers to the community “should” be
granted parole under the Parole Directive. Parole Directive §§ 6.2, 8.3. As the undisputed
evidence shows, the vast majority of arriving asylum seekers were granted parole in prior years
pursuant to the Directive, whereas similarly situated individuals are now being imprisoned based
on purported “flight risk.”


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Damus’s two parole requests based on a “lack of substantial ties to the community rendering him

a flight risk.” Def. Ex. E, Adducci Decl. ¶¶ 13-14 (ECF No. 23-5). He has been unlawfully

imprisoned for more than 14 months as a result. Pl. Ex. 7, Damus Decl. ¶ 9 (ECF No. 17-9).

But Mr. Damus established ties to the United States in the only manner reasonably possible for

an arriving asylum seeker: by presenting evidence of a U.S. sponsor. Mr. Damus stated that he

would live with a long-time friend in the United States—a lawful permanent U.S. resident who

agreed to be financially responsible for Mr. Damus during the pendency of his asylum case. Id. ¶

13 & Ex. B. The sponsor corroborated Mr. Damus’s statements, which Defendants in no way

dispute. See id.; see generally Def. Ex. E, Adducci Decl. (ECF No. 23-5). Mr. Damus submitted

similar undisputed evidence from additional sponsors for his second parole request—a U.S.

citizen couple—along with letters of support from local community leaders. See Pl. Ex. 7,

Damus Decl. ¶ 16 & Ex. C (ECF No. 17-9).

       As Mr. Damus’s attorney attests, before 2017, ICE routinely granted parole to individuals

with “comparable, and indeed substantially lesser, ties to the community in the United States”

than Mr. Damus’s. Pl. Ex. 28, Suppl. Ford Dec. ¶ 4 (emphasis added). It is hardly surprising,

then, that, when Mr. Damus’s attorney learned that the second parole request she submitted for

Mr. Damus was denied, ICE did not attribute the denial to purportedly insufficient community

ties; it merely noted that Mr. Damus remained “in active [removal] proceedings”—which is, of

course, true for every arriving asylum seeker. Id. ¶ 3.

       ICE’s use of flight risk as a pretext is also clear from ICE’s denial of the parole requests

of Plaintiff Abelardo Asensio Callol, a refugee from persecution by Cuba’s communist regime.

Mr. Callol was purportedly deemed a flight risk and denied parole because he had not shown an

“ongoing relationship” with his sponsor. Def. Ex. F, Ritchey Decl. ¶ 8 (ECF No. 23-6). But Mr.




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Callol’s was sponsored by his own mother. See Pl. Ex. 13, Callol Decl. ¶¶ 14-15 (ECF No. 17-

15); Pl. Ex. 25, Suppl. Stambaugh Decl. ¶¶ 7-9 & Ex. A. And, if there was any doubt, Mr.

Callol’s application attached, among other things, a sworn affidavit from his mother attesting

that “Abelardo Asensio Callol is my son,” and an accompanying letter from his stepfather stating

that Mr. Callol is his “stepson,” “with whom I have an affectionate family relationship.” Pl. Ex.

25, Suppl. Stambaugh Decl. ¶ 9 & Ex. A.

        ICE also asserted that Mr. Callol had not shown “sufficient ties to the United States or

stable residence.” Def. Ex. F, Ritchey Decl. ¶ 8 (ECF No. 23-6). But Mr. Callol’s mother and

stepfather, both U.S. lawful permanent residents, provided exhaustive evidence that Mr. Callol

would live with them in Miami and that they would financially support him during his asylum

case. Pl. Ex. 13, Callol Decl. ¶¶ 14-15 & Ex. A (ECF No. 17-15); Pl. Ex. 25, Suppl. Stambaugh

Decl. ¶¶ 7-9 & Ex. A. It is unclear how an arriving asylum seeker detained at the border could

show greater ties in the United States or a more stable available residence.

        Defendants’ denial of Plaintiff N.J.J.R.’s parole request was similarly pretextual. N.J.J.R.

came to the United States fleeing violence from armed groups that seek to eliminate opposition

to Venezuela’s oppressive regime. Pl. Ex. 12, N.J.J.R. Decl. ¶ 3 (ECF No. 17-14). He was

purportedly denied parole because he “failed to provide proof of the familial relationship with his

alleged niece, Yohana Carillo,” and “as a result . . . failed to establish that he is not a flight risk.”

Def. Ex. G, Perez Decl. ¶ 20 (ECF No. 23-7). But N.J.J.R.’s parole application attached a sworn

affidavit from Ms. Carillo, a lawful permanent U.S. resident, attesting that she is N.J.J.R.’s niece

and would support her uncle financially. Pl. Ex. 12, N.J.J.R. Decl. ¶ 11 & Ex. A (ECF No. 17-

14); Pl. Ex. 29, Guinan Decl. ¶ 8. She also provided a letter from her employer; her permanent




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resident card; her driver’s license; her pay stubs; and a proof of address. See id. As with Mr.

Callol, it is difficult to imagine what more proof could have been provided.4

       In sum, Defendants’ own evidence establishes that ICE is not conducting genuine

individualized parole reviews at the five Field Offices but is instead using purported “flight risk”

as a pretext to deny parole to almost everyone.

       D.      Defendants Are Also Violating the Procedural Requirements of the Parole
               Directive.

       Defendants’ declarations make clear not only that the ICE Field Offices no longer

undertake individualized review of parole requests; they also corroborate Plaintiffs’ evidence

that ICE is systematically failing to follow procedural requirements of the Parole Directive at the

five Field Offices. See Pl. Op. Br. 10-11 (citing 18 declarations as support).



4
  ICE’s purported bases for denying the other Plaintiffs’ parole applications are likewise
pretextual. Compare, e.g., Def. Ex. D, Witte Decl. ¶ 19 (ECF No. 20-4) (A.M.M. purportedly
denied parole because “he had not established sufficient ties to the United States”), with Pl. Ex.
26, Suppl. Spector Decl. ¶¶ 12-17 (describing extensive evidence of A.M.M.’s relationship with
three children in U.S., including U.S. citizen daughter), and Pl. Ex. 16, A.M.M. Decl. ¶¶ 23-26,
28 & Ex. B (ECF No. 17-18) (similar); Def. Ex. C, Quinones Decl. ¶ 10-11 (ECF No. 20-3)
(L.I.L.M. purportedly denied parole because he did not document his identity, there was a
“discrepancy” in how he described his relationship with his sponsor, and he previously worked
in Canada), with Pl. Ex. 30, Suppl. L.I.L.M. Decl. ¶¶ 3-5, 8 (describing extensive identity
documentation, explaining purported “discrepancy,” and noting that previous work in Canada
was on lawful temporary visa); Def. Ex. C, Quinones Decl. ¶ 13-16 (ECF No. 20-3) (E.E.C.S.
purportedly denied parole because he was previously removed, used counterfeit documents in
reentering the U.S., and submitted affidavits supporting parole “pertaining to other individuals”),
with Pl. Ex. 31, Suppl. E.E.C.S. Decl. ¶¶ 3-6 (explaining prior removal and use of counterfeit
passport because of fear of being removed to El Salvador again), Mamouzian v. Ashcroft, 390
F.3d 1129, 1138 (9th Cir. 2004) (“When a petitioner who fears deportation to his country of
origin uses false documentation . . . in order to gain entry to a safe haven, that deception does not
detract from but supports his claim of fear of persecution.”), Huang v. I.N.S., 436 F.3d 89, 100
(2d Cir. 2006) (similar), and Pl. Ex. 23, Behr Decl. ¶¶ 9-10 (E.E.C.S.’s attorney did not submit
affidavits pertaining to other individuals); Def. Ex. D, Witte Decl. ¶ 15 (ECF No. 20-4) (L.H.A.
purportedly denied parole because he failed to provide sufficient documentation to demonstrate
changed circumstances from prior denials), with Pl. Ex. 26, Suppl. Spector Decl. ¶¶ 4, 7-8
(describing ample documentation and explaining that L.H.A.’s prior denials were from
applications prepared by a fraudulent attorney), and Pl. Ex. 19, L.H.A. Decl. ¶ 14-15 & Ex. B
(ECF No. 17-21) (similar).


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       First, Defendants’ declarations confirm that none of the Field Offices consistently

comply with the Parole Directive requirements related to the parole interview. The Los Angeles

Field Office admits that “parole interviews are not conducted in every case”—notwithstanding

the Parole Directive’s requirement that ICE “must” conduct a parole interview, normally “no

later than seven days” following a credible fear finding. Parole Directive ¶ 8.2 (ECF No. 23-1);

Def. Ex. C, Quinones Decl. ¶ 4 (ECF No. 23-3). The Detroit and Newark Field Offices admit to

not scheduling parole interviews for Mr. Damus and N.J.J.R. within seven days of a positive

credible fear finding, and the Philadelphia and El Paso Field Offices do not contest the

declarations of immigration attorneys attesting that those Field Offices, too, frequently do not

conduct parole interviews within seven days. See Def. Ex. E, Adducci Decl. ¶ 11 (ECF No. 23-

5); Def. Ex G, Ritchey Decl. ¶¶ 16-19 (ECF No. 23-7); Pl. Ex. 1, Stambaugh Decl. ¶ 7 (ECF No.

17-3); Pl. Ex. 2, Spector Decl. ¶ 6 (ECF No. 17-4). Moreover, while the Philadelphia Field

Office disputes Mr. Callol’s and Mr. Castro’s attestations that they were not given parole

interviews, the only documentation on which the Field Office relies are parole advisals listing an

interview date “TBD.” Def. Ex. F, Ritchey Decl. ¶¶ 7-8 & Ex. 2, 4 (ECF No. 23-6).

       Second, Defendants’ declarations do not contravene Plaintiffs’ showing that the ICE

Field Offices systemically ignore the Parole Directive requirements relating to parole denials.

The Los Angeles, Newark, Philadelphia, and El Paso Field Offices do not dispute declarations of

immigration attorneys attesting that these offices frequently do not provide parole denials within

seven days of the parole interview, as required by the Directive. Parole Directive ¶ 8.2; see Pl.

Ex. 9, Bellis Decl. ¶ 15 (ECF No. 17-11); Pl. Ex. 10, Del Valle Decl. ¶ 11 (ECF No. 17-12); Pl.

Ex. 6, Major Decl. ¶ 8 (ECF No. 17-8); Pl. Ex. 1, Stambaugh Decl. ¶ 7 (ECF No. 17-3); Pl. Ex.

25, Suppl. Stambaugh Decl. ¶ 6; Pl. Ex. 2, Spector Decl. ¶ 7 (ECF No. 17-4). Although Mr.




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Quinones from the Los Angeles Field Office asserts that he signed a parole denial letter to

L.I.L.M., Def. Ex. C, Quinones Decl. ¶ 12 (ECF No. 23-3), L.I.L.M. and his attorney, Madelaine

Behr, attest that they never received one, Pl. Ex. 30, Suppl. L.I.L.M. Decl. ¶ 7; Pl. Ex. 23, Behr

Decl. ¶ 4. Similarly, although Ms. Adducci from the Detroit Field Office asserts that Mr. Damus

was served with a denial letter, both Mr. Damus and his attorney attest that Mr. Damus never

received one. Pl. Ex. 7, Damus Decl. ¶ 15 (ECF No. 17-9); Pl. Ex. 28, Suppl. Ford Decl. ¶¶ 2-3.

       Finally, many of the Field Offices fail to respond to the declarations of immigration

attorneys and Plaintiffs that those Field Offices frequently do not notify arriving asylum seekers

of their right to seek parole, or notify them that their parole requests were denied, in a language

the parole applicant understands, as required by the Parole Directive. See Parole Directive ¶¶

6.1, 6.5, 8.1 (ECF No. 23-1); Pl. Ex. 9, Bellis Decl. ¶¶ 13, 16 (ECF No. 17-11) (Los Angeles

Field Office parole denials in English); Pl. Ex. 10, Del Valle Decl. ¶¶ 9, 12 (ECF No. 17-12)

(same); Pl. Ex. 20, L.I.L.M. Decl. ¶ 9 (ECF No. 17-22) (parole denial in English); Pl. Ex. 17,

E.E.C.S. Decl. ¶ 10 (ECF No. 17-19) (parole denial in English); Pl. Ex. 3, Ford Decl. ¶ 14 (ECF

No. 17-5) (Detroit Field Office parole denials in English); Pl. Ex. 5, Knowles Decl. ¶ 11 (ECF

No. 17-7) (same); Pl. Ex. 6, Major Decl. ¶ 9 (ECF No. 17-8) (Newark Field Office parole denials

in English); Pl. Ex. 14, N.J.J.R. ¶ 13 (ECF No. 17-14) (parole denial in English); Pl. Ex. 1,

Stambaugh Decl. ¶ 8 (ECF No. 17-3) (Philadelphia Field Office parole denials in English); Pl.

Ex. 14, Castro Decl. ¶ 14 (ECF No. 17-16) (parole denial in English); see also Pl. Ex. 23, Behr

Decl. ¶ 13 (Los Angeles parole denials in English).

       These procedural violations of the Parole Directive further demonstrate that Plaintiffs are

likely to succeed on the merits of their claims.




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       E.      Plaintiffs’ Evidence Rebuts Any Presumption of Regularity.

       While Defendants contend that ICE’s conduct is protected by a “presumption of

regularity,” Plaintiffs have amply rebutted any such presumption. See, e.g., Ramirez, 2018 WL

1882861, at *14-16 (legal-service lawyer declarations that ICE did not conduct individualized

review of alternatives to detention for former unaccompanied alien children sufficiently rebutted

presumption of regularity); Adamson v. City & Cty. San Francisco, 2018 WL 1456761, at *3

(N.D. Cal. Mar. 23, 2018) (statistical evidence can rebut presumption of regularity); Lefrancois

v. Mabus, 910 F. Supp. 2d 12, 20 (D.D.C. 2012) (agency’s failure to follow a number of its

procedural requirements can support inference of irregularity); Albino v. United States, 78 F.

Supp. 3d 148, 166-67 (D.D.C. 2015) (same); see also Citizens to Preserve Overton Park, Inc. v.

Volpe, 401 U.S. 402, 415 (1971) (basic presumption of regularity “[does] not shield [agency]

action from a thorough, probing, in-depth review” under the APA).

       The cases cited by Defendants regarding the presumption of regularity are wholly

inapposite. The plaintiffs in those cases made only bald assertions that the challenged agency

action was irregular. See Latif v. Obama, 677 F.3d 1175, 1180 (D.C. Cir. 2012); Sussman v. U.S.

Marshals Serv., 494 F.3d 1106, 1110, 1117 (D.C. Cir. 2007). Here, by contrast, Plaintiffs have

presented extensive statistical and testimonial evidence showing that the five ICE Field Offices

are not conducting bona fide case-by-case parole reviews and are violating multiple procedural

requirements of the Parole Directive. That is more than sufficient to rebut any presumption of

regularity. See, e.g., Ramirez, 2018 WL 1882861, at *14-16.

       F.      Defendants’ Conduct Can Only Plausibly Be Explained by a Deterrence Motive,
               but It Is Unlawful Regardless of Motive.

       As noted, the statistical and testimonial evidence establishes that there has been a radical

about-face in parole practice at the five ICE Field Offices, and that similarly situated asylum



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seekers who were granted parole in prior years are now being denied parole. The Trump

Administration has not been shy about announcing its deterrence goals, see Pl. Op. Br. 11-13,

and there is simply no reasonable explanation other than deterrence for the seismic shift from

prior practice at the five Field Offices.

        Although Defendants’ declarants make the conclusory statement that they are not aware

of deterrence being used as a “factor” in deciding any particular parole request, Def. Ex. C,

Quinones Decl. ¶ 5 (ECF No. 23-3); Def. Ex. D, Witte Decl. ¶ 3 (ECF No. 23-4); Def. Ex. E,

Adducci Decl. ¶ 6 (ECF No. 23-5); Def. Ex. F, Ritchey Decl. ¶ 5 (ECF No. 23-6); Def. Ex. G,

Perez Decl. ¶ 8 (ECF No. 23-7), that is not the issue. Plaintiffs do not contend that ICE is

considering deterrence among other factors in its parole determinations at the five Field Offices.

Rather, ICE is systematically denying parole in order to deter others from seeking refuge in the

United States. Compl. ¶ 46 (ECF No. 3). As this Court held in R.I.L-R., that is unlawful. R.I.L-

R. v. Johnson, 80 F.3d 164, 188-89 (D.D.C. 2015).

        In any event, Plaintiffs are entitled to a preliminary injunction, regardless of whether

Defendants have been motivated by deterrence. As Defendants themselves concede, both the

Parole Directive and the INA mandate bona fide individualized parole reviews based on flight

risk and danger to the community. See Def. Ex. C, Quinones Decl. ¶¶ 2-3 (ECF No. 23-3); Def.

Ex. D, Witte Decl. ¶¶ 3-4 (ECF No. 23-4); Def. Ex. G, Perez Decl. ¶¶ 3-4 (ECF No. 23-7). ICE

is manifestly not providing such individualized reviews at the five ICE Field Offices and also is

violating many of the Parole Directive’s procedural requirements. See supra Parts I.A, I.D. That

unlawful conduct should be enjoined, irrespective of motive.




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II.    ICE’s Policy of Denying Parole in Almost All Cases Instead of Conducting True
       Case-by-Case Reviews Violates the Due Process Clause.

       The Due Process Clause also precludes ICE’s de facto policy of imprisoning Plaintiffs

and those similarly situated without conducting bona fide case-by-case parole reviews. See Pl.

Op. Br. 39-41. Indeed, Defendants do not dispute that non-individualized blanket parole

determinations are inconsistent with Due Process.

       While Defendants assert that Plaintiffs lack Due Process rights as “arriving” noncitizens,

they have no answer to the multiple federal court decisions holding that noncitizens arriving at

the border do have Due Process rights against arbitrary detention. See id. at 36-37 (citing, inter

alia, Rosales-Garcia v. Holland, 322 F.3d 386, 408-410 (6th Cir. 2003) (en banc), and Ngo v.

INS, 192 F.3d 390, 396 (3d Cir. 1999)). Defendants also do not explain how their position

squares with Zadvydas v. Davis, 533 U.S. 678 (2001), where seven of nine Justices agreed that

even noncitizens who are ordered removed and have no right to be in the United States have the

right to freedom from unlawful confinement. See Pl. Op. Br. 37 (discussing Zadvydas, 644 U.S.

at 690, 721); see also Rosales-Garcia, 322 F.3d at 410 (“If excludable aliens were not protected

by even the substantive component of constitutional due process . . . we do not see why the

United States government could not torture or summarily execute them.” (citation omitted)).

       Instead, Defendants cite cases stating that certain “arriving” noncitizens may not have

constitutional rights “regarding [their] application[s]” for admission. See Landon v. Plasencia,

459 U.S. 21, 32 (1982); Kleindienst v. Mandel, 408 U.S. 753, 766 (1972) (addressing power

“over the admission of aliens” (emphasis added) (internal quotation marks omitted));

Shaughnessy v. United States ex rel. Mezei, 345 U.S. 206, 216 (1953) (“right to enter . . .

depends on the congressional will” (emphasis added)). But it is the power to detain, not the

power to admit, that is at issue here.



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       In any event, Plaintiffs stand in a fundamentally different position from the petitioner in

Mezei, who was formally ordered excluded from the United States based on an individualized

determination of national security risk. See 345 U.S. at 208-09. Here, an immigration officer

found each Plaintiff to have a bona fide claim that she or he should be granted asylum, and each

Plaintiff has been in the United States pursuing that claim in immigration court proceedings. See

8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. § 208.30(f). Defendants have not claimed that any of the

Plaintiffs present national security concerns and none of them were “denied entry.” Mezei, 345

U.S. at 212. Just the opposite: they have all been screened into the United States for adjudication

of their legitimate claims for relief from persecution.

       Accordingly, Plaintiffs are likely to succeed on the merits of their claim that the Due

Process Clause entitles them to individualized parole determinations.5

III.   Plaintiffs Are Suffering Irreparable Harm from Their Arbitrary Detentions, and
       the Government Has No Interest in Detaining Individuals Who Are Neither Flight
       Risks Nor Dangers to the Community.

       Defendants do not dispute that detention of asylum seekers imposes irreparable harm.

See Pl. Op. Br. 41-42. Instead, Defendants repeat their baseless assertion that they are

conducting bona fide case-by-case parole reviews. But that goes only to likelihood of success on

the merits, not irreparable harm. Detention of asylum seekers always imposes irreparable harm,

irrespective of the basis for detention, and all members of the Plaintiff class are by definition

detained. See id.; Pl. Ex. 21 (ECF No. 17-23), Keller Decl. ¶¶ 12-23 (ECF No. 17-23).




5
  Although Plaintiffs are seeking preliminary injunctive relief only on their Due Process claim
that the Government must provide an individualized parole review, Plaintiffs’ complaint also
includes a claim that Due Process requires a custody hearing before an immigration judge as a
neutral decision-maker when detention becomes unreasonably prolonged. See, e.g., Compl. ¶¶
26-27, 79-80. Thus, the Court should not dismiss Defendants Sessions and McHenry, who
oversee the immigration courts.

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        Defendants assert that Plaintiffs can seek parole redeterminations. But Defendants do not

dispute that parole redeterminations, like initial parole determinations, are virtually always

denied (as they were for the named Plaintiffs), and redeterminations are subject to the same

unlawful policy that has resulted in virtually all initial parole requests being denied. See, e.g.,

Def. Ex. D, Witte Decl. ¶¶ 11, 13, 15 (ECF No. 23-4); Def. Ex. E, Adducci Decl. ¶ 14 (ECF No.

23-5); Pl. Ex. 1, Stambaugh Decl. ¶¶ 11-12 (ECF No. 17-1); Pl. Ex. 4, Miles Decl. ¶¶ 9-10 (ECF

No. 17-6); Pl. Ex. 5, Knowles Decl. ¶ 12 (ECF No. 17-7); see also Pl. Ex. 25, Suppl. Stambaugh

Decl. ¶¶ 6, 10 (redetermination denial “included the original boilerplate parole denial letter” and

“noting more”). Futile reconsideration attempts hardly vitiate the harm of ongoing detention.

        Defendants’ public-interest argument fares no better. Though there is surely a public

interest in enforcing the law, and that interest may extend to detention where necessary to avoid

“‘risk of [an] alien’s either absconding or engaging in criminal activity,’” Def. PI Opp. 24

(quoting Jennings v. Rodriguez, 138 S. Ct. 830, 836 (2018)), there is no public interest in

detaining asylum seekers who are not a flight risk or a danger to the community. Indeed, the

Parole Directive itself states that detention of asylum seekers who are neither a flight risk nor

dangerous “is not in the public interest.” Parole Directive ¶ 6.2 (emphasis added). And only

those asylum seekers who present no flight risk or danger would be eligible for release based on

the injunction Plaintiffs seek.

IV.     This Court Has Jurisdiction to Enjoin ICE’s Arbitrary Detention of Plaintiffs and
        Other Asylum Seekers.

        Defendants invoke 8 U.S.C. § 1252(f)(1) to evade judicial review of ICE’s illegal parole

policy, arguing that the statute divests district courts of jurisdiction to enjoin it. Their position

lacks merit for several independent reasons.




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       First, section 1252(f)(1), by its terms, provides only that “no court (other than the

Supreme Court) shall have jurisdiction or authority to enjoin or restrain the operation of the

provisions of part IV of this subchapter.” Id. (emphasis added). “Part IV of this subchapter”

includes only 8 U.S.C. §§ 1221-1231. This case, however, involves the parole statute: 8 U.S.C.

§ 1182(d)(5), which is not within “part IV” and thus is not one of the INA provisions section

1252(f)(1) covers. Defendants’ reliance on section 1252(f)(1) fails on this simple ground. See,

e.g., Catholic Social Servs., Inc. v. INS, 232 F.3d 1139, 1150 (9th Cir. 2000) (en banc) (Section

1252(f)(1) inapplicable to INA provisions outside “part IV”); Ramos v. Ashcroft, 2004 WL

161520, at *6 (N.D. Ill. Jan. 16, 2004) (similar).

       Defendants suggest that Plaintiffs’ challenge really involves section 1225 of the INA and

not the parole statute, but that is not the case. It is section 1182(d)(5) that requires ICE to

provide individualized parole reviews, and it is section 1182’s mandate that Plaintiffs seek to

enforce. See, e.g., Jean v. Nelson, 472 U.S. 846, 857 (1985) (predecessor version of parole

statute with equivalent operative language to current version required immigration authorities to

“make individualized determinations of parole”). Section 1252(f)(1)’s limitation on jurisdiction

thus is inapplicable. Cf. Gonzales v. Dep’t of Homeland Sec., 508 F.3d 1227, 1233 (9th Cir.

2007) (“Section 1252(f)(1) does not prohibit the current injunction because . . . it directly

implicates the adjustment of status provision which falls under part V of subchapter II,

notwithstanding that a reinstatement proceeding [pursuant to part IV] may be a collateral

consequence of an unsuccessful adjustment application.”).

       Second, Plaintiffs do not seek to “enjoin or restrain the operation” of any provision of the

INA. Plaintiffs seek instead to mandate compliance with the parole statute and its implementing

regulations, which require individualized parole reviews based on flight risk and danger to the




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community. As this Court explained in R.I.L-R., “‘[w]here . . . a petitioner seeks to enjoin

conduct that allegedly is not even authorized by the statute, the court is not enjoining the

operation of [the statute], and § 1252(f)(1) therefore is not implicated.’” 80 F. Supp. 3d at 184

(quoting Rodriguez v. Hayes, 591 F.3d 1105, 1120 (9th Cir. 2010) (emphasis added)). As in

R.I.L-R., “a class-wide injunction in this case would not obstruct the ‘operation of’ [the statute]

but merely enjoin conduct that allegedly violates that provision.” Id.; accord Abdi v. Duke, 280

F. Supp. 3d 373, 409 (W.D.N.Y. 2017) (section 1252(f)(1) inapplicable “[w]here . . . the moving

party . . . seeks to enjoin violations of the statutory and regulatory framework”).

       Third, section 1252(f)(1) contains an express carve out: it does not restrict a district

court’s jurisdiction to enter an appropriate injunction against the “application of [the detention

and removal provisions of the INA] to an individual alien against whom proceedings under such

part have been initiated.” 8 U.S.C. § 1252(f)(1). Plaintiffs and the class they seek to represent

are all individuals against whom removal proceedings have been initiated. Compl. ¶ 10. For this

further reason, section 1252(f)(1) does not preclude the Court from entering injunctive relief.

       Fourth, Defendants wrongly cite Jennings to assert that Section 1252(f)(1) “strips the

Court of jurisdiction over all class claims seeking to enjoin” the operation of the INA §§ 1221-

1231, including all constitutional claims. Def. PI Opp. 10 (citing Jennings, 138 S. Ct. at 851)

(emphasis added). Jennings does not so hold. In fact, the Jennings court reached no conclusion

at all regarding section 1252(f)(1). It simply remanded to the Ninth Circuit to consider that

provision. See Jennings, 138 S. Ct. at 851 (directing the Ninth Circuit to “consider on remand

whether it may issue classwide injunctive relief based on respondents’ constitutional claims”

against prolonged immigration detention without a bond hearing). Moreover, the question raised

by the Jennings court involved only whether section 1252(f)(1) permits the issuance of classwide




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injunctive relief concerning plaintiffs’ constitutional claim. See d. Nowhere did the court

suggest that section 1252(f)(1) might bear on claims to enjoin statutory or regulatory violations.6

       Finally, even assuming arguendo that section 1252(f)(1) barred the entry of an injunction,

the statute by its terms does not limit the Court’s authority to provide declaratory relief. See Alli

v. Decker, 650 F.3d 1007, 1013 (3d Cir. 2011) (“[I]t is apparent that the jurisdictional limitations

in [Section] 1252(f)(1) do not encompass declaratory relief.”); Rodriguez, 591 F.3d at 1119

(same); Reid v. Donelan, 297 F.R.D. 185, 193 (D. Mass. 2014) (same). Accordingly, at a bare

minimum this case should be permitted to proceed as a declaratory-judgment action.

V.     Defendants’ Additional Arguments for Dismissal Are Meritless.

       Because Plaintiffs have met their burden to support the entry of a preliminary injunction

regarding the existence of a de facto policy and the absence of individualized parole reviews,

they also, a fortiori, have met the lesser burden of defeating a motion to dismiss. Defendants’

other miscellaneous arguments for dismissal under Fed. R. Civ. P. 12(b)(6) also fail.

       1.      Parole Directive Purportedly Not Binding. Defendants cannot plausibly rely on

the Parole Directive’s boilerplate disclaimer that the Directive “is not intended to . . . create[] any

rights, privileges, or benefits.” Def. PI Opp. 11 (citing Parole Directive ¶ 10). The court in Abdi

rejected that precise argument. See Pl. Op. Br. 21 & n.19 (ECF No. 17-1). As the Abdi court

explained, agencies may not “avoid application of Accardi by simply disclaiming any binding

effect” in its directives, because “[t]o find otherwise would render the teachings of Accardi and

its progeny meaningless.” 280 F. Supp. 3d at 389 (citing United States ex rel. Accardi v.

Shaughnessy, 347 U.S. 260, 268 (1954)). That is especially true here, given that the Government


6
  In any event, Jennings involved sections 1225 and 1226 of the INA. This case, by contrast,
involves section 1182(d)(5): the parole statute. As explained above, section 1182(d)(5) is not
among the INA provisions to which section 1252(f)(1) applies.


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expressly represented to the Supreme Court in Jennings v. Rodriguez, 138 S. Ct. 830 (2018), that

the Parole Directive constrained agency action. See Pl. Op. Br. 19. Moreover, even assuming

arguendo that the Parole Directive’s boilerplate disclaimer could upend Plaintiffs’ claim based

on violation of the Parole Directive, it obviously could not defeat Plaintiffs’ separate claims

based on Defendants’ violations of the INA, the INA regulations, and the Due Process Clause.

       2.      Purported Absence of Private Right of Action. Relatedly, the fact that the Parole

Directive does not itself create a private right of action, Def. PI Opp. 11, is irrelevant. The

Administrative Procedure Act (“APA”) empowers Plaintiffs to challenge agency action that is

arbitrary, capricious, and contrary to law. See 5 U.S.C. §§ 702, 706(2). Defendants’ violations

of the Parole Directive are “contrary to law” and thus actionable under the APA (as are their

violations of the INA).

       3.      Burden of Proof. Contrary to Defendants’ assertion, Plaintiffs do not allege that

ICE has the burden to demonstrate that Plaintiffs’ continued detention is unnecessary when it

conducts parole reviews. Def. PI Opp. 14 n.3. Plaintiffs rather contend that the Parole Directive,

the INA, INA regulations, and the Due Process Clause mandate individualized review of parole

requests based on flight risk and danger to the community and preclude a broad policy of

denying parole in virtually every case. Compl. ¶¶ 4-5. Plaintiffs have properly alleged through

citation to statistical and other evidence that ICE is not conducting the requisite individualized

reviews at the ICE Field Offices. See id. ¶¶ 37-45. Those allegations are sufficient to withstand

dismissal, and they have also been backed by evidence sufficient to support Plaintiffs’ burden for

obtaining a preliminary injunction.

       4.      Kelly Memorandum. The Kelly memorandum’s statement that the Parole

Directive remains “in full force and effect,” Def. PI Opp. 15, is beside the point. Plaintiffs do




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not allege that Defendants have officially rescinded the Parole Directive; rather, Plaintiffs allege

an unlawful de facto rescission, as evidenced by the fact that the Field Offices are denying parole

in virtually every case. Compl. ¶¶ 41, 68. Plaintiffs’ non-conclusory allegations concerning this

de facto rescission are more than sufficient to state a claim. See, e.g., Venetian Casino Resort,

L.L.C. v. EEOC, 530 F.3d 925, 929 (D.C. Cir. 2008) (agency action reviewable when record

“leaves no doubt” that new unwritten policy exists); R.I.L-R., 80 F. Supp. 3d at 184 (similar).

                                         CONCLUSION

       The overwhelming statistical and other evidence establishes that the ICE Field Offices

are not conducting individualized parole reviews and have instead implemented a de facto policy

of denying parole to almost everyone. There is no dispute that such conduct is contrary to law.

Accordingly, Plaintiffs’ motion for a preliminary injunction should be granted and Defendants’

motion to dismiss should be denied.




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Dated: May 3, 2018                                    Respectfully submitted,

                                                      /s/ Philip J. Levitz

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*
 Although LCvR 83.2(c) and (d) do not apply to Ms. Gault, she appears before the Court
pursuant to LCvR 83.2(g), which states, “ATTORNEYS REPRESENTING INDIGENTS.
Notwithstanding (c) and (d) above, an attorney who is a member in good standing of the District
of Columbia Bar or who is a member in good standing of the bar of any United States Court or of
the highest court of any State may appear, file papers and practice in any case handled without a
fee on behalf of indigents upon filing a certificate that the attorney is providing representation
without compensation.” Ms. Gault is not receiving compensation for her services.


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                               CERTIFICATE OF SERVICE

       I certify that, on May 3, 2018, I electronically transmitted the attached memorandum and
the accompanying exhibits using the CM/ECF system for filing and transmittal of a Notice of
Electronic Filing to all CM/ECF registrants for this case.


Date: May 3, 2018                                  Signed:   /s/ Philip J. Levitz
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